1
                                                        Judge: Timothy W. Dore
                                                        Chapter: 13
2
                                                        Hearing Date: July 15, 2022
                                                        Hearing Time: 9:30 a.m.
3
                                                        Hearing Location:
                                                                 U.S. Bankruptcy Court
4
                                                                 700 Stewart St #8106
                                                                 Seattle, WA 98101
5
                                                        Response Date: July 14, 2022 at 3:00 pm

6
                        IN THE UNITED STATES BANKRUPTCY COURT
7
                  FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
8

9                                                           IN CHAPTER 13 PROCEEDING
       In re:                                               No. 22-10025-TWD
10
       JOAN RAIDER RAWLINGS,                                RESPONSE TO MOTION TO
11
                                                            APPROVE REVERSE MORTGAGE
12
                                              Debtor.
13
            Jason Wilson-Aguilar, Chapter 13 Trustee, responds to the debtor’s Motion to Approve
14
     Reverse Mortgage (ECF No. 46):
15
            The debtor wants to refinance her current mortgage by obtaining a reserve mortgage on her
16
     real property at 4534 Northeast 204th Place, Lake Forest Park, Washington. The Trustee has these
17
     concerns:
18
            1)      The debtor filed a notice of the hearing (ECF No. 54) and then filed two amended
19
     notices (ECF Nos. 56 and 58), apparently because the response date was wrong in the first two
20
     notices. The response date in the body of the first two notices was June 14, 2022 rather than July
21
     14, 2022. There is no indication on the docket that the debtor served the second amended notice
22
     with the correct response date (ECF No. 58), as the declaration of service filed on July 11, 2022
23
     (ECF No. 59) indicates that the first amended notice (ECF No. 56) was served.
24
            The debtor’s motion is already being heard on very shortened time (ECF No. 49), so it
25
     seems critical that parties are at least apprised of the correct response date. Moreover, the Court
26
     ordered that the debtor had to provide notice by July 11, 2022 (ECF No. 49; ¶ 4.). In any
27
     proceeding which is to be accorded finality, due process requires notice reasonably calculated,
28
     under all the circumstances, to apprise interested parties of the pendency of the action and afford
      RESPONSE TO MOTION TO APPROVE                                   Chapter 13 Trustee
      REVERSE MORTGAGE - 1                                          600 University St. #1300
                                                                      Seattle, WA 98101
                                                                (206) 624-5124 FAX 624-5282
      Case 22-10025-TWD          Doc 62     Filed 07/12/22     Ent. 07/12/22 16:45:36 Pg. 1 of 2
1    them an opportunity to present their objections. Mullane v. Central Hanover Bank & Trust Co.
2    et al., 339 U.S. 306, 314 (1950). The Trustee questions whether the debtor has met her burden.
3            2)       Section X.2. of the debtor’s confirmed plan provides that the debtor intends to
4    refinance her mortgage by July 31, 2022 “to pay the balance to creditors in this plan” (ECF No.
5    37). Like creditors, the debtor is bound by that plan provision. 11 U.S.C. § 1327(a). Under the
6    terms of her plan, the debtor must pay allowed unsecured claims in full (ECF No. 37; §§ IV.E. and
7    IX.).
8            The debtor’s proposed order (ECF No. 46-3) does not provide for any funds to be paid to
9    the Trustee to pay creditors pursuant to the debtor’s plan. The debtor seemingly acknowledges
10   this by indicating that “there are no funds for any creditors as a result of this transaction” (ECF
11   No. 46; Page 2; Lines 4 - 5). Moreover, it is not readily apparent that the amount the debtor wants
12   to borrow will pay off even her mortgage. The agreed payoff amount is apparently $626,412.59,1
13   but the initial draw on the reverse mortgage is apparently $538,814.52 (ECF No. 46-1). While the
14   debtor may intend to move to modify her plan,2 the debtor’s motion is not consistent with the
15   confirmed plan by which she is bound.
16           WHEREFORE, the Chapter 13 Trustee requests that the Court deny the debtor’s Motion
17   to Approve Reverse Mortgage (ECF No. 46).
18
             Dated this 12th day of July 2022
19
                                                           /s/ Jason Wilson-Aguilar, WSBA #33582
20
                                                            JASON WILSON-AGUILAR
21
                                                            Chapter 13 Trustee

22

23

24

25

26

27   1
       The debtor’s proposed settlement “will resolve the claim of U.S. Bank (Claim# 3) for the reduced payoff of
     $45,000.00 in the amount of $626,412.59” (ECF No. 50; Page 2; Lines 16 - 17).
28   2
       “[T]he debtor intends to file an amended Chapter 13 plan to pay the mortgage creditors [sic]” (ECF No. 46; Page
     2; Lines 5 – 6).

         RESPONSE TO MOTION TO APPROVE                                         Chapter 13 Trustee
         REVERSE MORTGAGE - 2                                                600 University St. #1300
                                                                               Seattle, WA 98101
                                                                         (206) 624-5124 FAX 624-5282
         Case 22-10025-TWD            Doc 62      Filed 07/12/22        Ent. 07/12/22 16:45:36 Pg. 2 of 2
